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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                          CASE NO. 2:16-CR-92-JAM
11                                Plaintiff,            STIPULATION AND [PROPOSED] AMENDMENT
                                                        TO PROTECTIVE ORDER RE: DISCOVERY
12                          v.                          CONTAINING PERSONAL IDENTIFYING
                                                        INFORMATION
13   JUAN CARLOS MONTALBO,
14                                Defendant.
15

16

17         IT IS HERBEY STIPULATED AND AGREED by the above-named parties that:
18             1. By prior order, the government provided discovery containing un-redacted “Protected
19                 Information” to the defense. ECF 22. This discovery includes several thousand pages of
20                 printed discovery and several hundred thousand pages of electronic discovery. More
21                 information is expected to be provided by the government in the months leading up to the
22                 scheduled trial date of October 15, 2018.
23             2. The defendant’s attorney and defense team were prohibited from providing a copy of the
24                 Protected Information directly to the defendant and are required to store the Protected
25                 Information in a secure place and to use care to ensure that information is not disclosed to
26                 third parties. ECF 22. At the completion of the case, the defense is required to destroy
27                 all copies except one. ECF 22.
28             3. The defendant is indigent and has been permitted to live in Texas while awaiting trial.

      STIPULATION AND [PROPOSED] PROTECTIVE ORDER RE:
      DISCOVERY CONTAINING PERSONAL IDENTIFYING         1
      INFORMATION
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 1                 ECF 9, 10, 11. The defendant does not have the funds to travel to Sacramento to view

 2                 the Protected Information in the presence of his appointed attorney.

 3          Accordingly, the parties stipulate and request that the Protective Order be amended as follows:

 4             4. The defendant’s attorney may provide one copy of the discovery in this case containing

 5                 un-redacted Protected Information directly to the defendant.

 6             5. The defendant be ordered to store the Protected Information in a secure place and to use

 7                 care to ensure that information is not disclosed to third parties.

 8             6. The defendant be ordered not to make any copy or duplicate of any item in discovery that

 9                 contains Protected Information.

10             7. That the defendant be ordered to sign an affidavit acknowledging this proposed order

11                 prior to receiving the discovery, which will be forwarded to the Office of the United

12                 States Attorney for the Eastern District of California.

13             8. The defendant be ordered to return the discovery containing Protected Information to his

14                 attorney at the completion of the case, and to certify his compliance using the attached

15                 affidavit.

16          That all other terms of the prior Stipulation and Order Regarding Discovery Containing

17 Personally Identifiable Information remain in effect.

18

19 Dated: March 1, 2018                                        McGREGOR W. SCOTT
                                                               United States Attorney
20

21                                                      By: /s/ MATTHEW G. MORRIS
                                                            MATTHEW G. MORRIS
22                                                          Assistant United States Attorney
23 Dated: March 1, 2018                                 By: /s/ TIM ZINDEL (auth by email)
                                                            TIM ZINDEL
24                                                          Attorney for JUAN CARLOS MONTALBO
25

26

27

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      STIPULATION AND [PROPOSED] PROTECTIVE ORDER RE:
      DISCOVERY CONTAINING PERSONAL IDENTIFYING            2
      INFORMATION
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 1                               IN THE UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF CALIFORNIA
 2

 3   UNITED STATES OF AMERICA,                           CASE NO. 2:16-CR-92-JAM
 4                                Plaintiff,             [PROPOSED] ORDER AMENDING PROTECTIVE
                                                         ORDER RE: DISCOVERY CONTAINING
 5                          v.                           PERSONAL IDENTIFYING INFORMATION
 6   JUAN CARLOS MONTALBO,
 7                                Defendant.
 8

 9         IT IS ORDERED THAT:
10         The Protective Order Regarding Discovery Containing Personal Identifying Information is
11 amended as follows:

12             1. The defendant’s attorney may provide one copy of the discovery in this case containing
13                 un-redacted Protected Information directly to the defendant.
14             2. The defendant is ordered to store the Protected Information in a secure place and to use
15                 care to ensure that information is not disclosed to third parties.
16             3. The defendant is ordered not to make any copy or duplicate of any item in discovery that
17                 contains Protected Information.
18             4. The defendant is ordered to sign the affidavit attached at Exhibit A acknowledging this
19                 Order prior to receiving the discovery, which his attorney will forward to the Office of
20                 the United States Attorney for the Eastern District of California.
21             5. The defendant is ordered to return the discovery containing Protected Information to his
22                 attorney at the completion of the case, and to certify his compliance using the attached
23                 affidavit attached as Exhibit B which his attorney will forward to the Office of the United
24                 States Attorney for the Eastern District of California.
25

26 Dated: March 1, 2018

27                                                           HONORABLE ALLISON CLAIRE
                                                             U.S. Magistrate Judge
28

      STIPULATION AND [PROPOSED] PROTECTIVE ORDER RE:
      DISCOVERY CONTAINING PERSONAL IDENTIFYING          3
      INFORMATION
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 1

 2                               IN THE UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF CALIFORNIA
 3

 4   UNITED STATES OF AMERICA,                          CASE NO. 2:16-CR-92-JAM
 5                                Plaintiff,
                                                        Attachment A
 6                          v.
 7   JUAN CARLOS MONTALBO,
 8                                Defendant.
 9

10
           AFFIDAVIT
11
           I, Juan Carlos Montalbo, declare under penalty of perjury that:
12
           I have read and understand the Court’s ORDER AMENDING PROTECTIVE ORDER RE:
13
     DISCOVERY CONTAINING PERSONAL IDENTIFYING INFORMATION and will comply with it.
14

15
           Dated:
16

17
                                                               Juan Carlos Montalbo
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      STIPULATION AND [PROPOSED] PROTECTIVE ORDER RE:
      DISCOVERY CONTAINING PERSONAL IDENTIFYING         4
      INFORMATION
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 1                               IN THE UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF CALIFORNIA
 2

 3   UNITED STATES OF AMERICA,                          CASE NO. 2:16-CR-92-JAM
 4                                Plaintiff,
                                                        Attachment B
 5                          v.
 6   JUAN CARLOS MONTALBO,
 7                                Defendant.
 8

 9
            AFFIDAVIT
10
            I, Juan Carlos Montalbo, declare under penalty of perjury that:
11
            I have returned my copy of the discovery containing Protected Information to my attorney, and I
12
     did not make a copy or otherwise duplicate any material containing Protected Information, nor did I
13
     permit or allow any other person to copy or otherwise duplicate material containing Protected
14
     Information.
15

16

17
            Dated:
18

19
                                                                Juan Carlos Montalbo
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      STIPULATION AND [PROPOSED] PROTECTIVE ORDER RE:
      DISCOVERY CONTAINING PERSONAL IDENTIFYING         5
      INFORMATION
